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 5                                  IN THE UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA
 6

 7 UNITED STATES OF AMERICA,                             CASE NO. 2:14-CR-00043-KJM

 8                     Plaintiff,                        STIPULATION AND
                                                         PROTECTIVE ORDER RE:
 9           v.                                          DISSEMINATION OF DISCOVERY
                                                         DOCUMENTS CONTAINING
10 JUDY RUTH MULLIN,                                     PERSONAL IDENTIFYING
                                                         INFORMATION
11                     Defendant.

12

13        IT IS HEREBY STIPULATED AND AGREED by the parties that the documents provided

14 as discovery in this case to defense counsel are subject to a Protective Order. Defendant is

15 charged with conspiracy related to a tax refund fraud scheme.

16        The parties agree that discovery in this case contains “Protected Information,” including but

17 not limited to, victim and witness tax information and records, social security numbers, and dates

18 of birth. The Protective Order extends to all documents provided, including those concerning

19 conduct not directly charged in the Indictment.

20        By signing this Stipulation, defense counsel agrees that the Protected Information is

21 entrusted to counsel only for the purposes of representing her client, the defendant, in this

22 criminal case and for no other purpose. Further, defense counsel agrees not to share any

23 documents that contain Protected Information with anyone other than his designated defense

24 investigators, experts, and support staff. Defense counsel will have a duty to inform her defense

25 investigators, experts, and support staff of this Order and provide them with a copy of it.

26 Defense counsel may permit the defendant to review the Protected Information and be aware of
27 its contents, but defendant shall not be given control of the Protected Information or provided

28 any copies of the Protected Information that have not been redacted of the Protected Information.

29      Stipulation and Proposed Protective Order    1
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 1 Any person receiving Protected Information or a copy of the Protected Information from

 2 defendant’s counsel shall be bound by the same obligations as counsel and further may not give

 3 the Protected Information to anyone (except that the protected documents shall be returned to

 4 counsel).

 5         Counsel agrees to store Protected Information in a secure place and to use care to ensure

 6 that information is not disclosed to third parties in violation of this agreement. At the conclusion

 7 of the case, defense counsel agrees to destroy all copies of Protected Information or to return the

 8 Protected Information to the United States and certify that this has been accomplished.

 9         Notwithstanding the foregoing, counsel, staff and/or the investigator for the defendant may

10 make copies of the Protected Information for trial preparation and presentation. Any copies

11 must, however, remain in the possession of counsel, investigator, staff, expert or the Court.

12         Nothing in this Stipulation and Protective Order prevents defense counsel or the defendant

13 from maintaining unredacted copies of records concerning the defendant’s own Protected

14 Information.

15         In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

16 withhold these documents from new counsel unless and until substituted counsel agrees also to

17 be bound by this Order.

18   DATE: May 30, 2014                                   BENJAMIN B. WAGNER
                                                          United States Attorney
19

20                                                  By:    /s/ Sherry D. Hartel Haus
                                                          SHERRY D. HARTEL HAUS
21                                                        Assistant U.S. Attorney

22

23   DATE: May 30, 2014                                   /s/ Tasha P. Chalfant
                                                          TASHA P. CHALFANT
24                                                        Attorney for Defendant Judy Ruth Mullin

25         IT IS SO ORDERED:

26 Dated: May 30, 2014
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29      Stipulation and Proposed Protective Order              2
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